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DEBTOR:         JAVIER MORZAN
Bankruptcy Case Number: 20-18765 LMI
Petition Filing Date: August 14, 2020
Creditor: Reef Club Condominium Association, Inc.
Property Address: 16658 NE 26th Avenue, Unit 2C, North Miami Beach 33160



        Monthly Maintenance due 08/01/17-12/01/17 at $482.00 each          $ 2,410.00
        Monthly Maintenance due 01/01/18-04/01/18 at $554.00 each            2,216.00
        Monthly Maintenance due 05/01/18-12/01/20 at $604.00 each           19,328.00
        Special Assessment (Pool Wall) due 09/01/15-09/01/15
        at $224.76 each                                                        224.76
        Special Assessment due 09/01/20-12/01/20 at $244.08 each               976.32
        Late Fee due 08/10/17-12/10/20 at $25.00 each                        1,225.00
        Late Fee (SA) due 09/10/20-12/10/20 at $25.00 each                     100.00
        Interest                                                             6,082.09
        Certified/Registered Mail, Return Receipt Requested                     34.14
        Cost of Placing and Releasing Lien                                      39.00
        Foreclosure Title Report                                                65.00
        Deed Search                                                              6.50
        Service of Process                                                     240.00
        Court Filing Fee                                                       415.00
        Legal Fees                                                           5,220.00
        SUBTOTAL                                                          $38,581.81
        Less payments                                                     (11,974.00)
        TOTAL                                                             $26,607.81




                                                                                  EXHIBIT A
14491414v.1 R00412/403893
